Case 1:21-cr-00159-ABJ Document 47 Filed 09/10/21 Page 1of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA - : Case No: 21 -CR-159 ABJ

18 U.S.C. § 875(c)

CLEVELAND GROVER F I L E D

MEREDITH, JR. SEP 10 202%

Defendant. Clerk, U.S. District & Bankruptcy
: Courts for the District of Columbia

STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant,
Cleveland Meredith, Jr., with the concurrence of his attorney, agree and stipulate to the below
factual basis for the defendant’s guilty plea——that is, if this case were to proceed to trial, the
parties stipulate that the United States could prove the below facts beyond a reasonable doubt:

1. Defendant drove from Colorado to Washington D.C. and arrived in the
evening of January 6, 2021 after the riots at the U.S. Capitol had ended. Defendant had
planned to arrive in Washington D. C. January 5" and attend various rallies supporting
former President Donald Trump.

2. On January 7, 2021, while Defendant was in a hotel in Washington, D.C.,
Defendant sent a text message threatening to injure. In a text message that Defendant sent in

interstate commerce to one of his relatives who was then in Georgia, Defendant threated that
Case 1:21-cr-00159-ABJ Document 47 Filed 09/10/21 Page 2 of 4

he was, “[t]hinking about heading over to Pelosi C[**]T’s speech and putting a bullet in her
noggin on Live TV [purple devil emoji].”

3, Defendant’s relative, who viewed the text message as a threat, contacted
Defendant’s mother, who then contacted the FBI as she was concerned for the safety of
Defendant and others.

4. The FBI located Defendant in a hotel in Washington D.C. on January 7, 2021.
Defendant agreed to interview with the FBI after being provided his Miranda rights, and
voluntarily waiving them. He also gave consent to search his phone, and his truck, and
trailer.

Bl The FBI examined the contents of Defendant’s phone and found in it several
text messages, which defendant admits that he sent in interstate commerce from January 4,
2021 to January 7, 2021 while in Colorado and Washington D.C. and in route to Washington,
D.C. Defendant acknowledges that such messages were drafted and sent by him, and no
additional person(s) had access to the device.

6. In Defendant’s trailer, which he had driven to Washington D.C. and was
physically present at the hotel, the FBI found a Glock 19, nine-millimeter handgun, and a
model IWI Tavor X95 rifle, approximately 2,500 rounds of ammunition, and 10 large
capacity ammunition feeding devices.

7. Defendant acknowledges that when he sent the text message, which is the
subject of Count I of the Indictment, he sent it with knowledge that the message would be

viewed as a threat.

Page 2 of 4
Case 1:21-cr-00159-ABJ Document 47 Filed 09/10/21 Page 3 of 4

Respectfully submitted,

CHANNING D. PHILLIPS
Acting United States Attomey
D.C. Bar No. 415793

By: = /s/ Anthony Franks
AUSA, Detailee

Assistant United States Attorney

Page 3 of 4
Case 1:21-cr-00159-ABJ Document 47 Filed 09/10/21 Page 4 of 4

DEFENDANT’S ACKNOWLEDGMENT

I, Cleveland Grover Meredith, Jr., have read this Statement of the Offense and have
discussed it with my attorney. I fully understand this Statement of the Offense. I agree and
acknowledge by my signature that this Statement of the Offense is true and accurate. I do this
voluntarily and of my own free will. No threats have been made to me nor am I under the influence
of anything that could impede my ability to understand this Statement of the Offense fully.

pate 9 /e [2 LLAMA pcre Wp)

Cleveland Grover Meredith, Jr.
Defendant

ATTORNEY’S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of the Offense as true and accurate.

Date: CG /2_/ CO / iin
Pa . Kiyonaga

Attorney for Defendant

 

Page 4 of 4
